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                                                                                            2019 Jun-14 PM 04:46
                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

KAYLAN MORRIS, on behalf of
herself and all others similarly
situated                                    )
                                            )
             Plaintiff,                     )
                                            )
vs.                                         ) Civil Action No. 02:19-cv-00650-TMP
                                            )
WALMART INC. f/k/a                          )
WAL-MART STORES, INC.,                      )
                                            )
      Defendants.                           )

   WALMART’S MOTION TO DISMISS THE CLASS ACTION COMPLAINT
         Defendant, Walmart, Inc. (“Walmart”), respectfully requests that the Court dismiss

the Class Action Complaint (“Complaint”), pursuant to Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim. In particular, all of Plaintiff’s claims fail because they

ignore controlling administrative regulations, Alabama law, and basic pleading standards.

                                    INTRODUCTION

         Plaintiff’s Complaint alleges that Walmart falsely labeled, falsely advertised, and

used deceptive trade practices in relation to its “Parent’s Choice Pediatric Shake”

(“Shake”). (Doc. 1, ¶ 2). Based on these allegations, Plaintiff makes claims for (1) unjust

enrichment, (2) violation of the Magnuson-Moss Warranty Act, (3) Breach of Express

Warranty, (4) Breach of Implied Warranty, and (5) violation of the Alabama Deceptive

Trade Practices Act. Each of these counts is based on the allegation that the Shake’s

packaging falsely and/or deceptively claims the Shakes are or contain: (1) “Naturally



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Flavored,” (2) “Balanced Nutrition to Help Kids Thrive,” (3) “No Synthetic Color, Flavor

or Sweeteners,” and (4) “Nutrition to help kids grow.” (Doc. 1, ¶ 16). The Complaint

alleges these claims are untrue “because the Shakes contain unnatural and synthetic

ingredients such as maltodextrin.” (Doc. 1, ¶ 17). Maltodextrin is the only ingredient the

Complaint alleges is synthetic and/or unnatural. The Complaint’s primary allegation is that

maltodextrin is a synthetic “sweetener because it contains sugars, similar to corn syrup.”

(Doc. 1, ¶ 30). The Food and Drug Administration (“FDA”), however, has determined that

“Maltodextrin . . . is a nonsweet nutritive saccharide polymer . . . .” 21 C.F.R. §

184.1444(a) (emphasis added).

        It is also important to point out what the packaging does not say, as many of the

terms used on the packaging have very specific definitions set forth in the FDA’s

regulations. For instance, as the Complaint recognizes, the packaging states that the Shake

is “Naturally Flavored.” It does not claim that the Shake is “natural.” Likewise, the

packaging only claims that the Shake contains “No Synthetic Color, Flavor, or

Sweeteners.” It does not claim that the Shake contains no synthetic ingredients. These

distinctions are important as the FDA has specific regulations relating to claims that a

product is “naturally flavored,” which are substantially different than a claim that a product

is “natural.” See 21 C.F.R. § 101.22.

        As will be demonstrated below, the face of the Complaint demonstrates that the

Plaintiff’s claims against Walmart fail for the following reasons:

        First, Plaintiff’s claims under the Magnuson-Moss Warranty Act fail because the

statements made on the Shake’s packaging do not constitute a “written warranty” under 15


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U.S.C. § 2301(6), as there is no “specified time period to which the [statements] relate[].”

16 C.F.R. § 700.3(a).

        Second, Plaintiff’s claims based on the allegedly false statements that the Shakes

are “Naturally Flavored” and contain “No Synthetic Sweetener” are preempted by the

Federal Food, Drug, and Cosmetic Act, as the allegedly misleading statements are

“expressly . . . permitted by FDA regulations.”

        Third, the Complaint does not plausibly allege that statements that the Shakes

contain “Balanced Nutrition to Help Kids Thrive,” and “Nutrition to help kids grow,” are

false or otherwise misleading, as the sole allegation regarding these claims is that “The

opposite is true.”

        Fourth, Plaintiff has procedurally waived her claims under the Alabama Deceptive

Trade Practices Act (“ADPTA”) by asserting her other claims for fraud, misrepresentation,

and deceit.

                                      ARGUMENT

I.      THE STATEMENTS ON THE SHAKE’S PACKAGING DO NOT CONSTITUTE A
        “WRITTEN WARRANTY,” UNDER THE MAGNUSON-MOSS WARRANTY ACT.
        If Plaintiff “cannot state a claim under a written warranty as defined by the

[Magnuson-Moss Warranty] Act, dismissal of the complaint is appropriate.” Ogner v. Sea

Ray Boats, Inc., No. 12-CV-14324-KMM, 2013 WL 12153502, at *3 (S.D. Fla. Feb. 12,

2013). According to the Federal Trade Commission’s regulations interpreting the Act,

“Certain representations, such as energy efficiency ratings for electrical appliances, care

labeling of wearing apparel, and other product information disclosures may be express



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warranties under the Uniform Commercial Code. However, these disclosures alone are not

written warranties under this Act.” 16 C.F.R. § 700.3(a). Moreover, according to the FTC,

“15 U.S.C. § 2301(6), provides that a written affirmation of fact or a written promise of a

specified level of performance must relate to a specified period of time in order to be

considered a ‘written warranty.’ A product information disclosure without a specified time

period to which the disclosure relates is therefore not a written warranty.” Id.

        Here, the Complaint alleges that the following claims constitute a “written

warranty” under the Act: (1) “Naturally Flavored,” (2) “Balanced Nutrition to Help Kids

Thrive,” (3) “No Synthetic Color, Flavor or Sweeteners,” and (4) “Nutrition to help kids

grow.” (Doc. 1, ¶ 84). The Shake’s packaging, however, does not have (and the Complaint

does not allege that these “product information disclosures” have) a specified time period

to which they relate. As a result, the statements made on the Shake’s packaging do not

constitute a “written warranty” under the Magnuson-Moss Warranty Act. Courts across of

the country have routinely dismissed similar claims when the product descriptions do not

contain a temporal element. Skelton v. General Motors Corp., 660 F.2d 311, 316 n.7 (1981)

(dismissing claim that GM warranted that the automobiles “contained THM 350 (M38)

transmissions” because the alleged warranty did not set forth a specific time period);

Hairston v. S. Beach Beverage Co., Inc., 2012 WL 1893818, at *6 (C.D. Cal. May 18,

2012) (finding claims that beverage was “all natural with vitamins” and had a particular

flavor were not a “written warranty” because “they do not specify a level of performance

over a specified period of time.”); Kelly v. Microsoft Corp., 2007 WL 2600841, at *3 (W.D.




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Wash. Sept. 10, 2007) (finding representation that computer was “Windows Vista

Capable” was not a written warranty because the promise contained no temporal element).

        Given that the Complaint fails to state a claim under a “written warranty,” as a

defined by the Magnuson-Moss Warranty Act, “dismissal of the complaint is appropriate.”

Ogner, 2013 WL 12153502, at *3.

II.     PLAINTIFF’S CLAIMS RELATING TO THE ALLEGED MISREPRESENTATIONS THAT
        THE SHAKES ARE “NATURALLY F LAVORED” AND HAVE NO SYNTHETIC
        SWEETENERS ARE PREEMPTED BY THE FDCA.

        The Food, Drug, and Cosmetics Act (“FDCA”) “expressly preempt[s] state

requirements within certain categories that are not identical to federal requirements.”

Stansfield v. Minute Maid Co., 124 F. Supp. 3d 1226, 1232 (N.D. Fla. 2015). Specifically,

“no State or political subdivision of a State may directly or indirectly establish under any

authority . . . any requirement for the labeling of food of the type required by section

343(b), 343(d), 343(f), 343(h), 343(i)(1), or 343(k) of this title that is not identical to the

requirement of such section . . . .”21 U.S.C. § 343-1(3) (emphasis added).

        The FDA has determined that “Not identical to,” means the requirements

“concerning the . . . labeling of food . . . (i) are not imposed by or contained in the applicable

provision [or regulation]; or (ii) Differ from those specifically imposed by or contained in

the applicable provision [or regulation].” Stansfield, 124 F. Supp. 3d at 1232 (quoting

C.F.R. § 100.1(c)(4)). “In circumstances where challenged conduct is expressly required

or permitted by FDA regulations, the claims fall within the core of the preemption

provision because they would ‘impose different requirements on precisely those aspects . .

. that the FDA had approved.”’ Reynolds v. Wal-Mart Stores, Inc., No. 4:14CV381-


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MW/CAS, 2015 WL 1879615, at *12 (N.D. Fla. Apr. 23, 2015) (quoting Altria Group,

Inc. v. Good, 555 U.S. 70, 86 (2008)).

        A.       Plaintiff’s Claims Relating to the Alleged Misrepresentation that the
                 Shakes are “Naturally Flavored” are Preempted by the FDCA.
        Plaintiff alleges that claims that the Shake is “Naturally Flavored,” violate Alabama

law because “the Shakes contain unnatural and synthetic ingredients such as maltodextrin.”

(Doc. 1, ¶ 17). According to 21 C.F.R. § 101.22(i), however, “a product may be labeled as

. . . ‘naturally flavored,’ even if it does not contain fruit or natural ingredients. So long as

that product ‘contains natural flavor,’ which is ‘derived from’ the characterizing food

ingredients,’ it will not run afoul of the regulation.” Lam v. General Mills, Inc., 859 F.

Supp. 2d 1097, 1102-03 (N.D. Cal. 2012). According to the FDA, “The term artificial

flavoring means any substance, the function of which is to impart flavor, which is not

derived from a [natural product] . . . . Artificial flavor includes the substances listed in §§

172.515(b) and 182.60 of this chapter except where these are derived from natural

sources.” 21 C.F.R. 101.22(a)(1).

        Here, maltodextrin is not listed in §§ 172.515(b) or 182.60 as an “artificial flavor”

and, in fact, the Complaint does not allege that maltodextrin (or any other ingredient) is an

artificial flavor, as defined by the FDA. The only allegation is that the “Shakes contain

unnatural and synthetic ingredients . . . .” The Shake’s packaging, however, does not claim

to be “natural.” It only claims to be “Naturally Flavored,” a claim that is specifically

governed by the FDA’s regulations. See 21 C.F.R. § 101.22(i). In a virtually identical

scenario, the court in Lam v. General Mills, Inc., found the plaintiff’s state law claims were



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preempted by the FDCA where the plaintiff alleged the products claim to be “naturally

flavored” was “deceptive because the products’ ingredients, not their flavors, are

unnatural.” 859 F. Supp. 2d at 1102-03. Given, that the FDA regulations specifically allow

a product to be labeled as “naturally flavored,” even though it does not contain natural

ingredients, the Plaintiff’s attempts to place a heavier burden on the Shake’s labeling,

through state law claims, are preempted by the FDCA, as in Lam.

         B.       Plaintiff’s Claims Relating to the Alleged Misrepresentation that the
                  Shakes Have no Synthetic Sweeteners is Preempted by the FDCA.

         The Complaint also alleges that the Shake’s claim that it contains “No Synthetic

Color, Flavor, or Sweeteners,” violates Alabama law. This allegation is based solely on the

assertion that “Maltodextrin is also a sweetener because it contains sugars, similar to corn

syrup.” (Doc. 1, ¶ 30). The FDA, however, has determined that “Maltodextrin . . . is a

nonsweet nutritive saccharide polymer . . . .” 21 C.F.R. § 184.1444(a) (emphasis added).

As such, Plaintiff is attempting to enforce, through state law, labeling requirements that are

different—and more stringent—than those mandated by the FDA. Accordingly, Plaintiff’s

causes of action based on the claim that maltodextrin is a sweetener are also preempted. 1




        1 The Complaint contains no allegation that any of the ingredients in the Shakes is a synthetic color or flavor.

The Complaint’s only allegation in relation to the claim that the Shakes contain “No Synthetic Color, Flavor or
Sweeteners,” is that maltodextrin is a synthetic sweetener. Given that the FDA has determined maltodextrin is not a
sweetener, the Complaint’s allegations regarding the claim that the Shakes contain “No Synthetic Color, Flavor or
Sweeteners,” all fail as a matter of law.


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III.    THE COMPLAINT DOES NOT PLAUSIBLY ALLEGE THAT STATEMENTS THAT THE
        SHAKES CONTAIN “BALANCED NUTRITION TO HELP K IDS THRIVE,” AND
        “NUTRITION TO HELP KIDS GROW,” ARE FALSE OR OTHERWISE MISLEADING.

        In Bell Atlantic Corp. v. Twombly, the Supreme Court held that “a plaintiff's

obligation to provide the grounds of his entitle[ment] to relief requires more than labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not

do[.]”550 U.S. 544, 555 (2007). The Supreme Court further explained, “[f]actual

allegations must be enough to raise a right to relief above the speculative level . . . on the

assumption that all the allegations in the complaint are true (even if doubtful in fact)[.]” Id.

In Ashcroft v. Iqbal, the Supreme Court, went further holding that “where the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged—but has not show[n]—that the pleader is entitled to relief.” 556

U.S. 662, 679 (2009) (internal citations omitted). The Supreme Court instructed that the

task “requires the reviewing court to draw on its judicial experience and common sense.”

In applying Iqbal and Twombly, the Eleventh Circuit has stated that a court is to begin its

analysis “by disregarding . . . wholly conclusory . . . allegations.” Am. Dental Ass'n v. Cigna

Corp., 605 F.3d 1283, 1290 (11th Cir. 2010).

        In the present case, the Complaint alleges that the Shake’s claims that it provides

“Balanced Nutrition to Help Kids Thrive,” and “Nutrition to help kids grow,” are false

and/or deceptive. The Complaint, however, provides no basis for its allegations. It merely

states “The opposite is true.” (Doc. 1, ¶ 36). The Complaint spends a great deal of time

claiming that maltodextrin is a synthetic sweetener, but provides no basis for why the

inclusion of a synthetic sweetener would preclude the Shakes from providing the


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appropriate nutrition for kids. In fact, the FDA has confirmed that maltodextrin is

“generally recognized as safe (GRAS)” for use in food. 21 C.F.R. § 184.1, 184.1444(a).

Accordingly, the Complaint has not plausibly alleged that these nutrition related claims are

false and/or deceptive, and, as in Iqbal and Twombly, such conclusory allegations are due

to be disregarded.

IV.     PLAINTIFF HAS PROCEDURALLY WAIVED HER CLAIMS UNDER THE ALABAMA
        DECEPTIVE TRADE PRACTICES ACT BY ASSERTING HER OTHER CLAIMS FOR
        FRAUD, MISREPRESENTATION AND DECEIT.

        Under the Alabama Deceptive Trade Practices Act (“ADTPA”) “an election to

pursue any civil remedies available at common law, by statute or otherwise, for fraud,

misrepresentation, deceit, suppression of material facts or fraudulent concealment arising

out of any act, occurrence or transaction actionable under this chapter shall exclude and be

a surrender of all rights and remedies available under this chapter.” ALA. CODE § 8-19-

15(b). The Alabama Supreme Court has determined that the remedies under the ADPTA

and those “otherwise available are mutually exclusive.” Ford Motor Co. v. Sperau, 708 So.

2d 111, 122 (Ala. 1997). The court in Holmes v. Behr Process Corp., found that it was

appropriate, at the motion to dismiss stage, to dismiss plaintiff’s ADTPA claims where it

also pleaded claims based on fraud, misrepresentation, and/or deceit. No. 2:15-CV-0454-

WMA, 2015 WL 7252662, at *2-3 (N.D. Ala. Nov. 17, 2015). The court determined that,

under the ADTPA, the claims are mutually exclusive, and “Allowing [plaintiff]

alternatively to plead her ADTPA and other fraud claims against Behr would enlarge the

substantive right and remedy of the ADTPA, supplanting the prerogative of state law.” Id.




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        While other courts have determined that the ADTPA’s Savings Clause does not

require an election at the motion to dismiss stage, those cases have ignored the plain

language of the ADTPA. See In re Gen. Motors LLC Ignition Switch Litig., 257 F. Supp.

3d 372, 405 (S.D.N.Y. 2017), modified on reconsideration, No. 14-MC-2543 (JMF), 2017

WL 3443623 (S.D.N.Y. Aug. 9, 2017). The ADPTA specifically states the “election to

pursue any civil remedies . . . shall exclude and be a surrender of all rights and remedies

available under this chapter.” ALA. CODE § 8-19-15(b). According to Black’s Law

Dictionary, to “pursue” means “[t]o prosecute or sue.” PURSUE, Black’s Law Dictionary

(11th ed. 2019). Thus, by filing a complaint, a plaintiff is certainly pursuing the legal

remedies requested in their complaint.

        Here, in addition to the ADTPA claim, Plaintiff is pursuing claims for (1) unjust

enrichment, (2) violation of the Magnuson-Moss Warranty Act, (3) Breach of Express

Warranty, and (4) Breach of Implied Warranty. Each of these claims is based on some form

of fraud, misrepresentation, and/or deceit. See Doc. 1, ¶¶ 67 (unjust enrichment), 86

(Magnuson-Moss Warranty Act), 103 (Breach of Express Warranty), and 112-13 (Breach

of Implied Warranty). The court in Jones v. Coty, Inc., determined that the dismissal of

identical causes of action was likely “dictated by the terms of the Alabama Deceptive Trade

Practices Act[’s]” Savings Clause. 362 F. Supp. 3d 1211-12, 1212 n.26 (S.D. Ala. 2018).

Therefore, Plaintiff’s election to pursue civil remedies for fraud, misrepresentation, and

deceit, act as a waiver of her ADTPA claims. Holmes, 2015 WL 7252662, at *2 (finding

plaintiff “procedurally waived her right to pursue a claim under the ADTPA by pursuing

her other fraud claims . . . .”).


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                                      CONCLUSION

        As discussed at length above, all of Plaintiff’s causes of action are based solely on

the allegedly false or deceitful claims that the Shakes are or contain: (1) “Naturally

Flavored,” (2) “Balanced Nutrition to Help Kids Thrive,” (3) “No Synthetic Color, Flavor

or Sweeteners,” and (4) “Nutrition to help kids grow.” (Doc. 1, ¶ 16). Each of these

allegations, however, fail as a matter of law because they ignore controlling administrative

regulations, Alabama law, and basic pleading standards. As such, each of Plaintiff’s five

counts are due to be dismissed for failure to state a claim.

                                           Respectfully Submitted,

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                            CERTIFICATE OF SERVICE
        I hereby certify that on June 14, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF filing system, which will send notification of such
filing to the following:

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                                          s/ Cole R. Gresham
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